             Case 20-10940-LSS   Doc 181-3   Filed 05/28/20   Page 1 of 7




                                    Exhibit 3
                        Notice of Assumption and Assignment




26353444.3
                     Case 20-10940-LSS              Doc 181-3         Filed 05/28/20         Page 2 of 7




                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

     ----------------------------------------------------------x
                                                               :    Chapter 11
     In re                                                     :
                                                               :    Case No. 20-10940 (LSS)
     ALPHA ENTERTAINMENT LLC,                                  :
                                                               :
                       Debtor.1                                :    Cure Cost/Assignment Objection Deadline:
                                                                    July 13, 2020 at 4:00 p.m. (ET)
                                                               :
                                                               :    Post-Auction Objection Deadline:
                                                               :    August 5, 2020 at 12:00 p.m. (ET)
                                                               :
                                                               :    Hearing Date:
                                                                    August 7, 2020 at 10:00 a.m. (ET)
                                                               :
                                                               :
     ----------------------------------------------------------x

             NOTICE OF POSSIBLE ASSUMPTION AND ASSIGNMENT OF CERTAIN
                   EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                             IN CONNECTION WITH SALE

     PLEASE TAKE NOTICE OF THE FOLLOWING:

             1.      On April 21, 2020, the debtor and debtor in possession in the above-captioned case
     (the “Debtor”) filed with the United States Bankruptcy Court for the District of Delaware (the
     “Bankruptcy Court”) its motion (the “Motion”) for the entry of: (A) an order (the “Bid
     Procedures Order”),2 (i) approving bidding procedures in connection with the sale of substantially
     all of the Debtor’s assets (the “Bidding Procedures”); (ii) scheduling an auction for (the
     “Auction”) and hearing (the “Sale Hearing”) on the approval of the proposed sale or disposition
     (the “Sale”) of the Debtor’s assets (the “Acquired Assets”); (iii) approving notice of respective
     date, time and place for the Auction and for the Sale Hearing; (iv) approving procedures for the
     assumption and assignment of certain executory contracts and unexpired leases; (v) approving
     form and manner of notice; and (vi) granting related relief; and (B) an order authorizing and
     approving (i) the Sale free and clear of liens, claims, rights, encumbrances, and other interests; and
     (ii) the assumption and assignment of certain executory contracts and unexpired leases
     (collectively, the “Designated Contracts”) and (iii) related relief.



     1
       The last four digits of the Debtor’s federal tax identification number, is 7778. The Debtor’s mailing address is
     1266 East Main St., Stamford, CT 06902.
     2
       Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Bid
     Procedures Order (including the Bid Procedures). Any summary of the Bid Procedures and the Bid Procedures Order
     contained herein is qualified in its entirety by the actual terms and conditions thereof. To the extent that there is any
     conflict between any such summary and such actual terms and conditions, the actual terms and conditions shall control.
3.   2
                   Case 20-10940-LSS          Doc 181-3      Filed 05/28/20      Page 3 of 7




           2.      On May [27], 2020, the Bankruptcy Court entered the Bid Procedures Order
     [Docket No. ___].

             3.      The Sale Hearing shall take place on August 7, 2020, at 10:00 a.m. (ET). The
     Sale Hearing may be adjourned by the Debtor from time to time without further notice to creditors
     or other parties in interest other than by announcement of the adjournment in open court on the
     date scheduled for the Sale Hearing or by filing a notice, which may be a hearing agenda, stating
     the adjournment, on the docket of the Debtor’s chapter 11 case.

             4.      To facilitate the Sale, the Debtor is potentially seeking to assume and assign the
     Designated Contracts to any Successful Bidder, in accordance with the Assignment Procedures
     provided for in the Bid Procedures Order. Each of the Designated Contracts subject to potential
     assignment through the Sale process is identified on Exhibit 1 attached hereto. THE INCLUSION
     OF ANY CONTRACT ON EXHIBIT 1 DOES NOT CONSTITUTE AN ADMISSION
     THAT A PARTICULAR CONTRACT IS AN EXECUTORY CONTRACT OR
     UNEXPIRED LEASE OF PROPERTY OR REQUIRE OR GUARANTEE THAT SUCH
     CONTRACT WILL BE ASSUMED AND ASSIGNED, AND ALL RIGHTS OF THE
     DEBTOR WITH RESPECT THERETO ARE RESERVED. The cure amount (each, a “Cure
     Cost”), if any, that the Debtor believes is required to be paid to the applicable counterparty (each,
     a “Non-Debtor Counterparty,” and collectively, the “Non-Debtor Counterparties”) to each of the
     Designated Contracts under section 365(b)(1)(A) and (B) of the Bankruptcy Code is identified on
     Exhibit 1 attached hereto.

              5.      If a Non-Debtor Counterparty objects to the Cure Cost for its Designated Contract
     and/or to the proposed assumption, assignment and/or transfer of such Designated Contract
     (including the transfer of any related rights or benefits thereunder), other than objections that relate
     specifically to the identity of a Successful Bidder, the Non-Debtor Counterparty must file with the
     Bankruptcy Court and serve on the Notice Parties (as defined below) a written objection (a “Cure
     Cost/Assignment Objection”). Any Cure Cost/Assignment Objection must: (i) be in writing;
     (ii) signed by counsel or attested to by the objecting party; (iii) in conformity with the applicable
     provisions of the Bankruptcy Rules and the Local Rules; (iv) state with particularity the legal and
     factual basis for the objection and the specific grounds therefor; (v) be filed with the Clerk of the
     Court, 824 N. Market Street, 3rd Floor, Wilmington, DE 19801, together with proof of service, on
     or before 4:00 p.m. (ET) on July 13, 2020 (the “Sale Objection Deadline”); and (vi) be served,
     so as to be actually received on or before the Sale Objection Deadline, upon (a) counsel to the
     Debtor, Young Conaway Stargatt & Taylor, LLP, Rodney Square, 1000 North King Street,
     Wilmington, Delaware 19801 (Attn: Matthew B. Lunn and Kenneth J. Enos); (b) counsel to the
     Official Committee of Unsecured Creditors of Alpha Entertainment LLC, Greenberg Traurig,
     LLP, (i) 3333 Piedmont Road, NE, Atlanta, GA 30305, Attn: David Kurzweil
     (kurzweild@gtlaw.com), and (ii) 1000 Louisiana Street, Suite 1700, Houston, TX 77002, Attn:
     Shari L. Heyen (heyens@gtlaw.com); (c) the Office of the United States Trustee for the District
     of Delaware, 844 N. King Street, Room 2207, Lockbox 35, Wilmington DE, 19801 (Attn: Richard
     Schepacarter); and (d) counsel to the Debtor’s prepetition lender, K&L Gates, LLP, 599 Lexington
     Avenue, New York, New York 10022 (Attn: John A. Bicks and James A. Wright III) (collectively,
     the “Notice Parties”).


2.   2

                                                        2
                  Case 20-10940-LSS          Doc 181-3     Filed 05/28/20      Page 4 of 7




             6.      Objections (a “Post-Auction Objection”) of any Non-Debtor Counterparty related
     solely to the identity of, and adequate assurance of future performance provided by, the Successful
     Bidder must (i) be in writing; (ii) state with specificity the nature of such objection, and (iii) be
     filed with the Bankruptcy Court and properly served on the Notice Parties so as to be received on
     or before 12:00 p.m. (ET) on August 5, 2020 (the “Post-Auction Objection Deadline”).

             7.     At the Sale Hearing, the Debtor may seek Bankruptcy Court approval of the
     assumption and assignment to any Successful Bidder of those Designated Contracts that have been
     selected by the Successful Bidder to be assumed and assigned. The Debtor and its estate reserve
     any and all rights with respect to any Designated Contracts that are not ultimately assigned to the
     Successful Bidder.

             8.      Any Non-Debtor Counterparty to a Contract who fails to timely file and properly
     serve a Cure Cost/Assignment Objection or Post-Auction Objection as provided herein will (i) be
     forever barred from objecting to the Cure Cost and from asserting any additional cure or other
     amounts with respect to such Contract in the event it is assumed and/or assigned by the Debtor and
     the Debtor shall be entitled to rely solely upon the Cure Cost, and (ii) be deemed to have consented
     to the assumption, assignment and/or transfer of such Contract (including the transfer of any
     related rights and benefits thereunder) to the relevant Successful Bidder and shall be forever barred
     and estopped from asserting or claiming against the Debtor or the Successful Bidder that any
     additional amounts are due or defaults exist, or conditions to assumption, assignment, and/or
     transfer must be satisfied under such Contract, or that any related right or benefit under such
     Contract cannot or will not be available to the relevant Successful Bidder.

             9.     If a Non-Debtor Counterparty files a Cure Cost/Assignment Objection satisfying
     the requirements of these Assignment Procedures, the Debtor and the Non-Debtor Counterparty
     shall meet and confer in good faith to attempt to resolve any such objection without Bankruptcy
     Court intervention. If the applicable parties determine that the objection cannot be resolved
     without judicial intervention in a timely manner, the Bankruptcy Court shall make all necessary
     determinations relating to such Cure Cost/Assignment Objection at a hearing scheduled pursuant
     to the following Paragraph.

             10.     Consideration of unresolved Cure Cost/Assignment Objections and Post-Auction
     Objections relating to all Designated Contracts, if any, will be held at the Sale Hearing; provided,
     however, that (i) any Contract that is the subject of a Cure Cost/Assignment Objection with respect
     solely to the amount of the Cure Cost may be assumed and assigned prior to resolution of such
     objection and (ii) the Debtor, in consultation with the Consultation Parties and the parties to any
     Contract that is subject to a Cure Cost/Assignment objection, may adjourn a Cure Cost/Assignment
     objection.

            11.     A timely filed and properly served Cure Cost/Assignment Objection or Post-
     Auction Objection will reserve the filing Non-Debtor Counterparty’s rights relating to the
     Contract, but will not be deemed to constitute an objection to the relief generally requested in the
     Motion with respect to the approval of the Sale.



2.   2

                                                      3
                  Case 20-10940-LSS         Doc 181-3      Filed 05/28/20      Page 5 of 7




             12.    The Debtor’s assumption and/or assignment of a Contract is subject to approval by
     the Bankruptcy Court and consummation of the Sale. Absent consummation of the Sale and entry
     of an order approving the assumption and/or assignment of the Designated Contracts, the
     Designated Contracts shall be deemed neither assumed nor assigned, and shall in all respects be
     subject to subsequent assumption or rejection by the Debtor.

             13.     Copies of the Motion, the Bid Procedures, the Bid Procedures Order, and the
     Assignment Procedures may be obtained by parties in interest free of charge on the dedicated
     webpage related to this chapter 11 case maintained by the claims and noticing agent in this case,
     Donlin, Recano & Company, Inc. (http://www.donlinrecano.com/alpha). Copies of such
     documents are also available for inspection during regular business hours at the Clerk of the
     Bankruptcy Court, 824 N. Market Street, 3rd Floor, Wilmington, DE 19801, and may be viewed
     for a fee at the Bankruptcy Court’s website (http://www.deb.uscourts.gov/) by following the
     directions for accessing the ECF system on such website.

             14.     Any Non-Debtor Counterparty to a Contract may notify the Debtor, via an
     electronic mail request to the Debtor’s counsel, Young Conaway Stargatt & Taylor, LLP, Rodney
     Square, 1000 North King Street, Wilmington, Delaware 19801 (Attn: Matthew B. Lunn, Esq.
     (mlunn@ycst.com), Kenneth J. Enos, Esq. (kenos@ycst.com) and Shane M. Reil, Esq.
     (sreil@ycst.com), of its desire for information about (a) the identity of any Stalking Horse Bidder,
     as applicable; (b) adequate assurance information from the Stalking Horse Bidder (if its Contract
     is implicated by the Stalking Horse Bid), as applicable; (c) the identity of the Successful Bidder
     and any backup bidder; and (d) adequate assurance information from the Successful Bidder and
     any backup bidder (if its Contract is implicated by the Successful Bid or backup bid). Any such
     request shall include an email address whereby the requestor can receive such information, and
     Debtor shall provide, or shall cause their counsel and/or the claims and noticing agent to provide,
     such information to any requestor (a) with respect to a Stalking Horse Bidder, within the later of
     (i) twenty-four (24) hours after entry into any agreement with a Stalking Horse Bidder and (ii)
     twenty-four (24) hours after receipt by counsel to the Debtor of such a request; and (b) with respect
     to a successful Bidder or backup bidder, within the later of (i) twelve (12) hours after the
     conclusion of the Auction and (ii) twelve (12) hours after receipt by counsel to the Debtor of such
     a request.

                                [Remainder of page intentionally left blank]




2.   2

                                                      4
                    Case 20-10940-LSS    Doc 181-3    Filed 05/28/20   Page 6 of 7




         Dated:   [____________], 2020    YOUNG CONAWAY STARGATT & TAYLOR, LLP
                  Wilmington, Delaware
                                          /s/
                                          Michael R. Nestor (No. 3526) (mnestor@ycst.com)
                                          Matthew B. Lunn (No. 4119) (mlunn@ycst.com)
                                          Kenneth J. Enos (No. 4544) (kenos@ycst.com)
                                          Shane M. Reil (No. 6195) (sreil@ycst.com)
                                          Matthew P. Milana (No. 6681) (mmilana@ycst.com)
                                          1000 N. King Street
                                          Rodney Square
                                          Wilmington, Delaware 19801
                                          Telephone: (302) 571-6600
                                          Facsimile: (302) 571-1253

                                          Proposed Counsel to the Debtor and Debtor in
                                          Possession




2.   2

                                                 5
         Case 20-10940-LSS    Doc 181-3    Filed 05/28/20   Page 7 of 7




                                 EXHIBIT 1

                             Designated Contracts

                                  (attached)




4.   2
